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                             UNITED STATES DISTRICT COURT

                                 DISTRICT OF CONNECTICUT

EDDIE GRANT, JR., et al                       :        CIVIL NO. 3:22-CV-01223 (JBA)
     Plaintiffs,                              :
                                              :
      v.                                      :
                                              :
LAMONT, et al.,                               :
    Defendants.                               :       FEBRUARY 8, 2023

                             DEFENDANTS’ MEMORANDUM
                          IN SUPPORT OF MOTION TO DISMISS

       Plaintiffs seek to enjoin enforcement of Conn. Gen. Stat. §§ 53-202a-c—Connecticut’s

assault weapons ban—which has been in place for over a decade. But Plaintiffs have not sued the

proper parties, and thus claims against all but four Defendants must be dismissed for lack of subject

matter jurisdiction.

       Specifically, the Eleventh Amendment bars these claims. Plaintiff purports to avoid

Eleventh Amendment immunity by invoking the Ex parte Young doctrine, seeking injunctive and

declaratory relief only. Ex parte Young, 209 U.S. 123 (1908). But Defendants Lamont, Griffin,

Kelley, Applegate, Corradino, Shannon, Gailor, Ferencek, Watson, Gedansky, Platt, and Mahoney

are not proper parties for purposes of Ex parte Young because they lack the requisite connection

to the enforcement of § 53-202a-c. For this reason, the Court lacks subject matter jurisdiction over

all claims against those Defendants, and all claims against them should be dismissed.

I.     STATEMENT OF FACTS & THE RELEVANT ALLEGATIONS

       Plaintiffs Connecticut Citizens Defense League, Inc. (“CCDL”), Second Amendment

Foundation, Inc., (“SAF”), Eddie Grant Jr., Jennifer Hamilton, and Michael Steifel challenge

Connecticut’s assault weapons law as unconstitutional under the Second Amendment, seeking an

injunction against enforcement of the statute and declaratory relief declaring the law

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unconstitutional. See ECF # 1. Specifically, the individual Plaintiffs (Grant, Hamilton, and Steifel)

allege that but for §§ 53-202a-c, they would “lawfully purchase and possess” one or more of the

restricted firearms listed in § 53-202a, likely “AR 15-platform firearm[s].” See ECF # 1, ¶¶ 11, 18,

25. Plaintiffs Grant, Hamilton, and Stiefel allege they reside in Meriden, Enfield, and Montville,

Connecticut, respectively. See ECF # 1, ¶¶ 6, 15, 20.

        Plaintiffs bring suit against Governor Lamont, the Commissioner of the Department of

Emergency Services and Public Protection, Chief State’s Attorney Patrick Griffin, and all thirteen

individual State’s attorneys: Attorneys Kelley, Applegate, Corradino, Shannon, Gailor, Ferencek,

Gedansky, Platt, Narducci, Watson, Walcott, Doyle, and Mahoney. See ECF # 1, ¶¶ 35-50.

Plaintiffs seek only injunctive and declaratory relief and sue the Defendants in their official

capacities only. Id., Pg. 30.

 II.     ARGUMENT

        A.      Legal Standard

        Plaintiff bears the burden of establishing the Court’s subject matter jurisdiction. Makarova

v. United States, 201 F.3d 110, 113 (2d Cir. 2000). A 12(b)(1) motion challenges the district court’s

authority to adjudicate a case, and, once challenged, the burden of establishing that the court in

fact retains such authority lies with the party who asserts jurisdiction. See Arndt v. UBS AG, 342

F.Supp.2d 132, 136 (E.D.N.Y. 2004) (“On a motion to dismiss for lack of subject matter

jurisdiction pursuant to Fed.R.Civ.P. 12(b)(1), the burden of establishing jurisdiction, by a

preponderance of the evidence, rests with the party asserting that it exists.”) (citation omitted).

“The Second Circuit has repeatedly observed that, in contrast to a motion to dismiss for failure to

state a claim, ‘when the question to be considered is one involving the jurisdiction of a federal

court, jurisdiction must be shown affirmatively, and that showing is not made by drawing from the



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pleadings inferences favorable to the party asserting it.’” Rodriguez v. Winski, 444 F. Supp. 3d

488, 494 (S.D.N.Y. 2020) (quoting Shipping Fin. Serv. Corp. v. Drakos, 140 F.3d 129, 131 (2d

Cir. 1998)). “In response to a motion to dismiss pursuant to Rule 12(b)(1), ‘[a] plaintiff asserting

subject matter jurisdiction has the burden of proving by a preponderance of the evidence that it

exists.’” Beaupre v. Chubb & Son, Inc., No. 3:19-CV-834-JBA, 2020 U.S. Dist. LEXIS 141498,

at *6-7 (D. Conn. Aug. 7, 2020) (quoting Makarova v. United States, 201 F.3d 110, 113 (2d. Cir.

2000)).

          “When considering a motion to dismiss pursuant to Rule 12(b)(1), the court must take all

facts alleged in the complaint as true and draw all reasonable inferences in favor of [the] plaintiff.”

Juvenile Matters Trial Lawyers Ass’n v. Judicial Dep’t, 363 F. Supp. 2d 239, 243 (D. Conn. 2005)

(quoting Raila v. United States, 355 F.3d 118, 119 (2d Cir. 2004)). “However, argumentative

inferences favorable to the party asserting jurisdiction should not be drawn.” Atl. Mut. Ins. Co. v.

Balfour Maclaine Int’l Ltd., 968 F.2d 196, 198 (2d Cir. 1992) (citing Norton v. Larney, 266 U.S.

511, 515 (1925)); see also Robinson v. Overseas Military Sales Corp., 21 F.3d 502, 507 (2d Cir.

1994) (“In determining whether a plaintiff has met this burden, we will not draw argumentative

inferences in the plaintiff’s favor”).

          B.     The Claims against Defendants Lamont, Griffin, Kelley, Applegate,
                 Corradino, Shannon, Gailor, Ferencek, Watson, Gedansky, Platt, and
                 Mahoney are barred by the Eleventh Amendment and Defendants are not
                 proper parties for purposes of Ex parte Young.

          “The Eleventh Amendment bars suits against states and their officials unless the state

consents to suit, Congress abrogates the state’s immunity, or the case falls within the Ex parte

Young exception.” NAACP v. Merrill, 939 F.3d 470, 475 (2d Cir. 2019). The Ex parte Young

exception “operates to end ongoing violations of federal law and vindicate the overriding federal

interest in assuring the supremacy of the law . . . . A plaintiff may invoke this exception provided

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that his complaint (a) alleges an ongoing violation of federal law and (b) seeks relief properly

characterized as prospective.” Id. (citations and internal quotation marks omitted). Plaintiffs seek

only “declaratory and injunctive relief challenging the constitutionality” of the challenged statutes.

ECF # 1, ¶ 1. Each Defendant is sued in their official capacity only. Id., ¶¶ 35-50. It is thus manifest

that Plaintiffs purport to invoke the Ex parte Young exception. See Ex parte Young, 209 U.S. at

123. Governor Lamont, Chief States Attorney Griffin (“CSA”), and State’s Attorneys Kelley,

Applegate, Corradino, Shannon, Gailor, Ferencek, Gedansky, Watson, Platt, and Mahoney

however, are not proper parties to this action for purposes of Ex parte Young.

       “Ex parte Young held that a suit to enjoin as unconstitutional a state official’s action was

not barred by the [Eleventh] Amendment. This holding was based on a determination that an

unconstitutional state enactment is void and that any action by a state official that is purportedly

authorized by that enactment cannot be taken in an official capacity since the state authorization

for such action is a nullity.” Papasan v. Allain, 478 U.S. 265, 276 (1986). Accordingly, to fall

within the exception the defendant state official “must have some connection with the enforcement

of the act, or else it is merely making him a party as a representative of the state, and thereby

attempting to make the state a party.” Ex parte Young, 209 U.S. at 157; see also Pennington Seed,

Inc. v. Produce Exch. No. 299, 457 F.3d 1334, 1342 (Fed. Cir. 2006) (“When a violation of federal

law is alleged, as here, the state official whose actions violate that law is the rightful party to the

suit and prospective injunctive relief can only be had against him.”).

       To satisfy the “connection” requirement, the state official must have both “a particular duty

to enforce the statute in question and a demonstrated willingness to exercise that duty” based on

the conduct before the Court. Conn. Ass’n of Health Care Facilities, Inc. v. Rell, No. 10-CV-136,

2010 U.S. Dist. LEXIS 54649, 2010 WL 2232693, at *5 (D. Conn. June 3, 2010). The Young



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“exception only applies when the named defendant state officials have some connection with the

enforcement of the act and ‘threaten and are about to commence proceedings’ to enforce the

unconstitutional act.” Okpalobi v. Foster, 244 F.3d 405, 416 (5th Cir. 2001) (emphasis added).

When that willingness and connection to enforce is not present, it cannot be said that the official

is “involved in an ongoing violation of federal law . . . .” Goodspeed Airport, LLC v. East Haddam

Inland Wetlands & Watercourses Comm’n, 632 F. Supp. 2d 185, 188 (D. Conn. 2009). A plaintiff’s

failure to name a proper defendant that meets the connection requirement is “fatal” to their claim.

HealthNow N.Y., Inc. v. New York, 739 F. Supp. 2d 286, 295 (W.D.N.Y. 2010).

       1.      Governor Lamont is not a proper party under Ex parte Young.

       Governor Lamont is not a proper party to this action under Ex parte Young. Plaintiffs do

not allege that Governor Lamont has any connection to the enforcement of § 53-202a-c, let alone

a particular duty or demonstrated willingness to enforce the same. The plain language of § 53-

202a-c reveals no such connection and Connecticut law does not charge the Governor with

enforcing criminal statutes.

       Plaintiff alleges that the Governor is “constitutionally required to take care that the laws be

faithfully executed.” ECF # 1, ¶ 35. The Governor’s general constitutional duty to “take care that

the laws be faithfully executed,” however, cannot serve to invoke Young. Conn. Const. art. IV., §

12. “[C]ourts in the Second Circuit have not extended the exception under Ex parte Young on the

basis that a state official has a general duty to execute and enforce state laws.” Kuck v. Danaher,

822 F. Supp. 2d 109, 142 (D. Conn. 2011); Connecticut Ass’n of Health Care Facilities, Inc. v.

Rell, Civ. No. 3:10CV136(PCD), 2010 U.S. Dist. LEXIS 54649, at *5 (D. Conn. June 3, 2010);

Klinger v. Connecticut, Docket No. 3:04-CV-1081 (MRK), 2004 U.S. Dist. LEXIS 24093, at *6-

8 (D. Conn. Nov. 12, 2004). Rather, the “general authority to enforce the laws of the state is not



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sufficient to name a state officer as a defendant in an action challenging a law.” HealthNow New

York, Inc. v. New York, 739 F. Supp. 2d 286, 294 (W.D.N.Y. 2010) (internal quotation marks

omitted); see also Children’s Healthcare is a Legal Duty, Inc. v. Deters, 92 F.3d 1412, 1416 (6th

Cir. 1996) (“Holding that a state official’s obligation to execute the laws is a sufficient connection

to the enforcement of a challenged statute would extend Young beyond what the Supreme Court

has intended and held.”) (internal citations omitted).

       Governor Lamont’s general constitutional duty to execute state law is not sufficient to

make him a proper party to this suit for purpose of Ex parte Young. Instead, he is named as a token

“representative of the state” lacking any connection to the enforcement of § 53-202a-c. Ex Parte

Young, 209 U.S. at 157. Because Plaintiff’s Complaint is devoid of allegations satisfying the

connection requirement of Ex parte Young, this action against Governor Lamont in his official

capacity is barred by the Eleventh Amendment. It should be dismissed accordingly.

       2.      CSA Griffin is also not a proper party under Young.

       Although the Connecticut Constitution vests the CSA with “the prosecutorial power of the

state,” CSA Griffin (“the CSA”) is not a proper party to this action under Ex parte Young because

Connecticut law does not impose upon him any special duty to investigate criminal matters or

initiate criminal prosecutions in the first instance for violations of the criminal law, including a

violation of § 53-202a-c. See Conn. Const. Art. XXIII. Rather, violations of § 53-202a-c are

prosecuted by parties other than the CSA, namely the individual State’s Attorneys, all of whom

have the power, ability, and special duty to enforce the criminal law in the first instance within

their assigned judicial district. Conn. Gen. Stat. § 51-286a(a).

       Because § 53-202a-c does not provide that it is to be enforced by the CSA, and because

Connecticut law does not elsewhere imply any “special relation” between the CSA and the



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enforcement of § 53-202a-c, the CSA lacks the required enforcement “connection” needed to

invoke Ex parte Young. 209 U.S. at 158–59. Similarly to the Plaintiffs’ allegations against the

Governor, merely alleging that the CSA “oversees” State’s Attorneys is insufficient to establish

the required connection under Ex parte Young. See Chrysafis v. James, 534 F. Supp. 3d 272, 298

(E.D.N.Y. 2021) (a defendant’s simply holding the office of New York Attorney General is not

enough to invoke Ex parte Young, particularly where “other state and local officials, rather than

the Attorney General, who have the particular duty to administer or enforce” the statute); Shell Oil

Co. v. Noel, 608 F.2d 208, 211 (1st Cir. 1979) (“[T]he mere fact that an attorney general has a duty

to prosecute all actions in which the state is interested [is not] enough to make him a proper

defendant in every such action.”).

       Connecticut law charges the individual State’s Attorneys for each judicial district, all of

whom are independent constitutional officers with the “prosecutorial power of the state,” with the

duty of enforcing Connecticut’s criminal laws, like § 53-202a-c, in the first instance. Conn. Const.

Art. IV., § 27. And Connecticut law imposes a special duty upon the individual State’s Attorneys

that is not imposed upon the CSA: “Each state’s attorney, assistant state’s attorney and deputy

assistant state’s attorney shall diligently inquire after and make appropriate presentment and

complaint to the Superior Court of all crimes and other criminal matters within the jurisdiction of

the court or in which the court may proceed, whether committed before or after his appointment

to office.” Conn. Gen. Stat. § 51-286a(a); see, e.g., Conn. Gen. Stat. § 51-278(b)(1)(B) (providing

that each State’s Attorney appointed for each judicial district “shall act therein as attorney on

behalf of the state”); see also Inkel v. Connecticut, Docket No. 3:14-CV-01303 (MPS), 2015 U.S.

Dist. LEXIS 86092, at *13 (D. Conn. July 2, 2015) (observing that CSA “is not responsible for




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prosecuting individual cases within the various judicial districts” but that such responsibility

belongs to “the local State’s Attorney for each judicial district”).

       The Second Circuit has recognized that the CSA occupies a “somewhat peculiar position”

as the “administrative head” of the Connecticut Division of Criminal Justice. Conn. Const. Art.

XXIII; Powers v. Coe, 728 F.2d 97, 99 n.3 (2d Cir. 1984) (observing that under previous statutory

scheme CSA exercised powers in criminal matters “similar in some respects to those of the

attorney general in many states”). Connecticut law requires the CSA to carry out administrative

duties and to represent the state in “appellate, post-trial, and postconviction proceedings,” but it

does not impose any duty upon the CSA to enforce Connecticut’s criminal law in the first instance.

Conn. Gen. Stat. § 51-277(c); see Conn. Gen. Stat. § 51-278(a) (providing that CSA is the

“administrative head” of the Division of Criminal Justice); Conn. Gen. Stat. § 51-279 (describing

the powers and duties of CSA).

       The CSA has residual prosecutorial powers: he “may sign any warrants, informations,

applications for grand jury investigations and applications for extradition,” but Connecticut law

does not require him to do so. Conn. Gen. Stat. § 51-277(d)(1) (emphasis added). Further, the CSA

does not have the ability to take steps in pursuit of a criminal prosecution for violation of § 53-

202a-c in the first instance without the “prior consent” of the individual state’s attorney concerned.

Conn. Gen. Stat. § 51-277(d)(2)-(3) (providing that the Chief State’s Attorney may represent the

state in court only with the “prior consent” of the state’s attorney for that district and may only

take the place of a state’s attorney if there exists “clear and convincing evidence” of “misconduct,

conflict of interest or malfeasance” by the state’s attorney). In other words, § 53-202a-c is enforced

by parties other than the CSA, namely the individual State’s Attorneys, all of whom have the




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power, ability, and special duty to enforce the criminal law in the first instance within their

assigned judicial district. Conn. Gen. Stat. § 51-286a(a).

        “For a duty found in the general laws to constitute a sufficient connection, it must include

the right and the power to enforce . . . the act in question.” HealthNow New York, Inc. v. New York,

739 F. Supp. 2d 286, 296 n.6 (W.D.N.Y. 2010) (emphasis in original) (quoting Okpalobi v. Foster,

244 F.3d 405, 416-17 (5th Cir. 2001)). “Thus, any probe into the existence of a Young exception

should gauge (1) the ability of the official to enforce the statute at issue under his statutory or

constitutional powers, and (2) the demonstrated willingness of the official to enforce the statute.”

Okpalobi, 244 F.3d at 417; see Ex parte Young, 209 U.S. at 160 (asking “whether the attorney

general had, by the law of the state, so far as concerns the . . . acts [at issue], any duty with regard

to the enforcement of the same”) (emphasis added).

        Plaintiff has not alleged that the CSA has demonstrated any willingness or duty to enforce

§ 53-202a-c. At bottom, the CSA lacks the requisite connection to the enforcement of § 53-202a-

c needed to invoke Ex parte Young. CSA Griffin is not a proper party under Ex parte Young and

this action against him in his official capacity is barred by the Eleventh Amendment. It should be

dismissed accordingly.

        3. State’s Attorneys Kelley, Applegate, Corradino, Shannon, Gailor, Ferencek,
           Gedansky, Platt, and Mahoney are not proper parties under Ex parte Young.

        Plaintiffs have also failed to properly allege the requisite connection of State’s Attorneys

Kelley, Applegate, Corradino, Shannon, Gailor, Ferencek, Gedansky, Watson, Platt, and Mahoney

to enforcement of § 53-202a-c against Plaintiffs. Though Plaintiffs correctly allege that all the

individual State’s Attorneys are “required to diligently inquire after and make appropriate

presentment and complaint to the Superior Court of all crimes and other criminal matters within

the jurisdiction of the court in which the court may proceed,” they fail to note that none of the

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aforementioned Defendants have any connection to the judicial districts in which the individual

Plaintiffs may be prosecuted. ECF # 1, ¶¶ 38-50.

        Connecticut State’s Attorneys are designated to specific, geographical judicial districts,

over which they have prosecutorial power in the first instance. See Elliott v. City of Hartford,

Docket No. 3:09-CV-00948 (AWT), 2013 U.S. Dist. LEXIS 204324, at *5-6 (D. Conn. Sep. 30,

2013) (“[e]ach of the thirteen judicial districts in Connecticut is led by a state's attorney, who is

appointed by the Criminal Justice Commission”); Conn. Const. Art. XXIII; See also

https://portal.ct.gov/DCJ/About-Us/About-Us/Judicial-Districts-and-States-Attorneys,               last

accessed on February 2, 2023 (identifying thirteen judicial districts and corresponding States

Attorneys).

        Plaintiffs Grant, Hamilton, and Stiefel have alleged that they reside in Meriden, Enfield,

and Montville, Connecticut, respectively. See ECF # 1, ¶¶ 6, 15, 20. Thus, the State’s Attorneys

responsible for prosecuting them, should they violate § 53-202a-c, would be the State’s Attorneys

for such corresponding judicial districts—Defendants Doyle, Walcott, and Narducci. See Id., ¶¶

41, 45, 46 (these Defendants are State’s Attorneys for New Haven, Hartford, and New London

judicial districts, respectively).

        Plaintiffs have alleged no facts that would provide the requisite “connection” for

enforcement against them by any other individual State’s Attorney, because they have not alleged

any connection to any other judicial district. While State’s Attorneys, like the CSA, may have the

ability to prosecute in a judicial district other than their assigned district, they must be “assigned”

to do so “on designation by the Chief State’s Attorney or the Inspector General, as applicable.”

Conn. Gen. Stat. § 51-281. The only officials with the requisite duty and connection to enforcement

of § 53-202a-c against the Plaintiffs would be those State’s Attorneys in the judicial districts in



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which Plaintiffs violated the challenged statutes, and the only allegations connecting Plaintiffs to

any individual State’s Attorneys are the allegations of the judicial districts in which they reside.

Any relief provided against any other State’s Attorney would be meaningless.1 Accordingly, all

other States Attorney’s are not proper parties to this action, and all claims against them are barred.

           III.    CONCLUSION

    This Court should grant this Motion and dismiss the claims against Defendants Lamont,

Griffin, Kelley, Applegate, Corradino, Shannon, Gailor, Ferencek, Watson, Gedansky, Platt, and

Mahoney accordingly.


                                               DEFENDANTS
                                               Lamont et al.

                                               WILLIAM TONG
                                               ATTORNEY GENERAL

                                           __/s/ Janelle R. Medeiros
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                                                ________________
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  Indeed, this issue is tied closely to the issue of redressability, as part of the point of the
“connection” requirement of Ex Parte Young is to ensure the relief ordered against a particular
official may actually remedy the wrong. See, e.g., Schaeffer v. Clinton, 54 F. Supp. 2d 1014, 1019
(D. Colo. 1999) (“The issues of causation and redressability are intertwined in this discussion with
that of whether the defendants are proper parties to the suit.”)
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                                        CERTIFICATION

       I hereby certify that on February 8, 2023, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.


                                            __/s/ Janelle R. Medeiros
                                              Janelle R. Medeiros
                                              Assistant Attorney General




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